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                 Exhibit B
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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MASSACHUSETTS


__________________________________________
JOHN DOE,                                  )
                Plaintiff,                 )
                                           )
v.                                         )      Case No. 1:23-cv-12077-WGY
                                           )
UNIVERSITY OF MASSACHUSETTS,               )
TRUSTEES OF THE UNIVERSITY OF              )
MASSACHUSETTS, HANNAH MONBLEAU, )
in her official and individual capacities, )
KATE LEGEE, in her official and individual )
capacities, ESMERALDA LEVESQUE, a/k/a      )
ESMERALDA MENDEZ, in her official and      )
individual capacities, ADAM DUNBAR, in his )
official and individual capacities,        )
BRETT SOKOLOW,                             )
                Defendants.                )
__________________________________________)


                               JOINT EXHIBIT LIST

     Exhibit            Date                          Description
                                    Letter from K. Legee to Doe re decision of
1                 9/7/2023          Hearing Panel
2                 8/1/2022          Student Conduct Code
                                    University of Massachusetts Lowell Sexual
3                 10/12/2022        Harassment Grievance Procedure
4                 5/19/2023         Letter from Office of Student Conduct to Doe
5                 5/19/2023         Letter from Deputy Title IX Coordinator to Doe
6                 5/19/2023         Letter from Office of Residential Life to Doe
                                    Letter from M. Coughlin to Doe enclosing
7                 7/11/2023         Investigation Report
                                    Email from M. Coughlin to Doe re hearing
8                 7/12/2023         panel
                                    Letter from M. Coughlin to Doe re hearing
9                 7/13/2023         panel
                                    Letter from M. Coughlin to Doe enclosing
10                7/20/2023         Investigation Report
11                7/20/2023         Investigative Report and Appendices
12                7/30/2023         Doe's Response to Investigative Report
     Case 1:23-cv-12077-WGY   Document 31-2        Filed 12/18/23   Page 3 of 3

                              Joint Exhibit List


     Exhibit          Date                          Description
                                 Investigator's Response to Doe's Response to
13               8/16/2023       Report
A                4/1/2021        H. Monbleau Facebook Post
B                5/19/2023       Letter from A. Ciaraldi to K.G.
C                5/19/2023       Letter from J. Bragg to K.G.
D                5/19/2023       Letter from Office of Student Conduct to K.G.
                                 No contact order to K.G. re E.H., E.Z., J.T.,
E                5/22/2023       C.T.Z.
                                 No contact order to Doe re E.H., E.Z., J.T.,
F                5/22/2023       C.T.Z.
                                 Email from A. Ciaraldi re J.T. and CTZ formal
G                5/30/2023       complaint.
                                 Email from A. Ciaraldi re E.H. formal
H                5/30/2023       complaint.
I                6/6/2023        Letter from H. Monbleau to K.G.
J                6/6/2023        Letter from H. Monbleau to Doe
K                6/20/2023       No contact order to Doe re S.K.
L                6/26/2023       Email from H. Monbleau to Doe and K.G.
M                6/27/2023       Email from A. Ciaraldi re S.K. formal complaint
N                6/30/2023       Email from H. Monbleau to K.G.
O                7/13/2023       Letter from M. Coughlin to K.G.
P                7/17/2023       Letter from J. Bragg to K.G.
                                 Letter from M. Coughlin to Doe re hearing
Q                7/20/2023       panel
                                 Letter from M. Coughlin to Doe re hearing
R                7/20/2023       panel
                                 Letter from M. Coughlin to Doe re hearing
S                7/28/2023       panel
T                7/30/2023       Investigation Response Form (Non-Title IX)
U                8/9/2023        Letter from K. Legee to Doe re hearing panel
                                 Letter from M. Coughlin enclosing
V                8/16/2023       investigator's response.




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